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UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: November 4,2013
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SILVESTER MCKANNEY,

                                    Plaintiff,                     13 Civ. 1535 (KBF)
                           -v-
                                                                   OPINION & ORDER

DEPARTMENT OF THE NAVY,

                                    Defendant.
------------------------------------------------------------- }C
KATHERINE B. FORREST, District Judge:

        Pro se plaintiff Silvester McKanney seeks review of defendant Department of

the Navy's denial of his request for documents under the Freedom of Information

Act ("FOIA"), 5 U.S.C. § 522, and his subsequent appeals of that denial. Plaintiff

filed this action on March 7, 2013 seeking, in substance, his "closed or sealed

military field service jacket," which he alleges the Navy is improperly withholding.

(Compi. at 3 1 , ECF No. 1.)

        On April 18, 2013, the parties appeared for a pretrial conference, at which

the Court set a briefing schedule for motions to dismiss and motions for summary

judgment. (ECF No.7.) The Court also ordered the Navy to notify the Court of the

measures it had taken to locate the records plaintiff seeks, as well as the results of

those measures. (ECF No.8.) In response, on May 27,2013, the Navy submitted a

nine-page letter supported by several exhibits that carefully explained the searches

it has conducted and their finding-that the records plaintiff seeks do not exist.


1 Because the complaint does not contain numbered paragraphs, all citations to the complaint in this
opinion correspond to the page numbers of the Eel" filing.
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(ECF No. 10.) On June 28, 2013, the Navy made a timely motion to dismiss the

complaint or, in the alternative, for summary judgment. (ECF No. 12.) Plaintiff

was ordered to respond to the Navy's motion by July 31,2013, and a copy of that

order was sent to the address listed on the docket. (ECF No. 11.) To date, plaintiff

has not done so. Accordingly, the Court will consider defendant's motion as

unopposed.

       For the reasons set forth below, defendant's motion is GRANTED.

                                    BACKGROUND

       Plaintiff served in the Navy from 1978 to 1981. (CompI. at 7; Dursa DecI. Ex.

F, ECF No. 15.) He refers to the records he seeks in his FOIA request alternately as

a "closed field service jacket," a "sealed/closed military record," "part of his sealed

FBI file," a "missions file," or a "command file." (CompI. at 3, 5, 7, 19.) He states

that these records were kept separately from his regular personnel file. (Id. at 19.)

According to plaintiff, the requested documents are records related to his Navy

service, including medical evaluations, financial documents, and "a sealed FBI file."

(Id. at 5-6.)

       Plaintiff submitted his FOIA request on January 27,2012. (Id. at 7.) The

Chief of Naval Operations confirmed receipt of the request on March 16, 2012;

because plaintiffs Naval service had concluded more than thirty years ago, his

request was referred to the National Archives and Records Administration's

National Personnel Records Center ("NPRC") in St. Louis, Missouri. (Id. at 10.) On

March 28,2012, the NPRC responded to plaintiff, stating that they did not have any



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such records on file and noting that they had provided plaintiff a copy of "every

personnel document in your military file and informed you that there was nothing

else on file." (Dursa Dec!. Ex. A)

       Plaintiff appealed on or about April 2, 2012, again requesting the same files.

(CompI. at 11, 13,16, 19,22.) On May 1, 2012, the Navy Office of the Judge

Advocate General ("OJAG") denied plaintiffs appeal, confirmed the adequacy of the

searches that were previously undertaken for responsive records, and noted that it

no longer had authority to further adjudicate the NPRC's determination that there

were no responsive records. (rd. at 20-21.)

       On June 26, 2012, the Office of the Secretary of the Navy ("SECNAV") wrote

plaintiff in response to a telephone call he placed on June 11, 2012 regarding his

request; SECNAV reported its understanding that OJAG had already given plaintiff

a final decision of "No Records," and formally closed its file on plaintiffs FOrA

request. (Id. at 22.)

      On July 10, 2012, plaintiff faxed correspondence to OJAG seeking additional

review of the denial of his appeaL (Dursa Decl. Ex. B at 1.) OJAG responded, on

August 22, 2012, that OJAG had already provided a final determination as to

plaintiffs request and appeal, which was that no responsive records were located.

(Id.) OJAG informed plaintiff that his "recourse was to seek judicial review." (Id.)

Additionally, OJAG contacted the Modern Military Records Branch ("MMRB") in

Adelphi, Maryland to determine if they had any records responsive to plaintiffs




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request. (ld.) Because MMRB had already received a FOIA request from plaintiff

for the records, OJAG told plaintiff that MMRB would respond directly to him. (Id.)

                                STANDARD OF REVIEW

       Defendant moves to dismiss the complaint under both Federal Rule of Civil

Procedure 12(b)(1) and 56(a).

       Under Rule 12(b)(1), a case may be dismissed for lack of subject matter

jurisdiction when the district court "lacks the statutory or constitutional power to

adjudicate it." Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000) (citing

Fed. R. Civ. P. 12(b)(1». The court must accept a plaintiffs factual allegations in

his complaint as true and draw all reasonable inferences in the plaintiffs favor.

Famous Horse Inc. v. 5th Ave. Photo Inc., 624 F.3d 106, 108 (2d Cir. 2010). To

survive a motion to dismiss under Rule 12(b)(1), a plaintiff has the burden of

proving jurisdiction by a preponderance of the evidence. ~~~~, 201 F.3d at 113

(citing Malik v. Meissner, 82 F.3d 560, 562 (2d Cir. 1996».

      Summary judgment may not be granted unless all of the submissions on such

a motion, taken together, "show that there is no genuine issue as to any material

fact and that the movant    entitled to judgment as a matter oflaw." Fed. R. Civ. P.

56. The moving party bears the burden of demonstrating "the absence of a genuine

issue of material fact." Celotex Corp. v. Catrett. 477 U.s. 317, 323 (1986). In

determining whether that party has met its burden, the Court must "construe all

evidence in the light most favorable to the nonmoving party, drawing all inferences

and resolving all ambiguities in its favor." Dickerson v. Napolitano. 604 F.3d 732,


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740 (2d Cir. 2010). The Court is not to act as a trier of fact or to weigh the evidence.

Wevant v. Okst, 101 F.3d 845, 854 (2d Cir. 1996).

       In reviewing a motion for summary judgment involving a nonmoving, pro se

plaintiff, the Court will "liberally construe[s] [the] pleadings and briefs submitted

by [the] pro   litigantD," "reading such submissions to raise the strongest

arguments they suggest." Bertin v. United States, 478 F.3d 489, 491 (2d Cir. 2007)

(quotation marks omitted). However, even a pro se plaintiff must offer some

evidence that would defeat a motion for summary judgment. Saldana v. Local 32B­

32J Servo Emps. Int'l Union, No. 03 Civ. 1853, 2005 WL 66895, at *2 (S.D.N.Y.

2005) ("Even a pro se plaintiff 0 cannot withstand a motion for summary judgment

by relying merely on the allegations of a complaint.")

      "Summary judgment is the procedural vehicle by which most FOIA actions

are resolved." Jones-Edwards v. NSA, 352 F. Supp. 2d 420, 423 (S.D.N.Y. 2005).

Though the Supreme Court has framed the issues raised by FOIA dismissal motions

in jurisdictional terms, see DOJ v. Tax Analysts, 492 U.S. 136, 142 (1989), the trend

among courts in this and other circuits is to analyze such motions under Rule 56.

See Hadden V. Bureau of Prisons, No. 07 Civ. 8586, 2008 WL 5429823, at *4

(S.D.N.Y. Dec. 22, 2008) (citing cases).

                                    DISCUSSION

      Regardless of the procedural posture of the instant motion, the complaint

must be dismissed because, on the record before the Court, plaintiff fails to satisfy

the subject matter jurisdiction requirements for a FOIA action.


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      Federal jurisdiction in a FOIA action "is dependent on a showing that an

agency has (1) 'improperly' (2) 'withheld' (3) 'agency records.'" Tax Analysts, 492

U.S. at 142 (quoting Kissinger v. Reporters Comm. for Freedom of Press, 445 U.S.

136, 150 (1980». Documents qualifY as "agency records" if the agency "either

create[d] or obtain[ed]" the document, and the agency has "control of the requested

materials at the time the FOIA request is made." Tax Analysts, 492 U.S. at 144-45

(citations omitted). If the requested documents are not on the premises of the

agency at the time ofthe request, then the agency's failure to produce them does not

qualifY as "withholding" the documents. Id. at 148-49. A refusal to provide

requested materials is "improper" if it relies upon an overly broad construction of

one of the nine enumerated exemptions in 5 U.S.C. § 552(b). Id. at 151.

      To prevail on a motion for summary judgment, the defending agency "has the

burden of showing that its search was adequate and that any withheld documents

fall within an exemption to the FOIA." Associated Press v. DOJ, No. 06 Civ. 1758

(LAP), 2007 WL 737476, at *3 (S.D.N.Y. Mar. 7, 2007), affd, 549 F.3d 62 (2d Cir.

2008). The agency must show a "good faith effort to search for the requested

documents, using methods 'reasonably calculated' to produce documents responsive

to the FOIA request." Garcia v. DOJ, 181 F. Supp. 2d 365 (S.D.N.Y. 2002) (quoting

Weisberg v. DOJ, 745 F.2d 1476, 1485 (D.C. Cir. 1984». If affidavits submitted as

evidence of the search "are adequate on their face," the court may grant summary

judgment. Carney v. DOJ, 19 F.3d 807,812 (2d Cir. 1994) (holding that affidavit

from agency employee who conducted FOIA search satisfied burden for summary


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judgment). An affidavit is adequate ifit "contain[s] reasonable specificity of detail

rather than merely conclusory statements, and ... [is] not called into question by

contradictory evidence in the record or by evidence of agency bad faith." Grand

Central P'ship, Inc. v. Cuomo, 166 F.3d 473,478 (quoting Gallant v. NLRB, 26 F.3d

168, 171 (D.C. Cir. 1994).

        The Navy does not argue that the records plaintiff seeks fall under a FOIA

exemption 2 ; rather, they argue that, after conducting searches reasonably

calculated to locate these records (both before and after plaintiff filed this action), it

has determined that the records do not exist.

        The Court finds that the steps the Navy has taken to respond to plaintiffs

FOIA requests are more than adequate. In support of its motion, the Navy

submitted a declaration by Lieutenant Matthew Dursa, an OJAG Litigation

Attorney who has reviewed the Navy's files regarding plaintiffs FOIA request and

appeals. (Dursa Dec!. ~'l 1, 3.) The Dursa Declaration and supporting documents

(many of which plaintiff also submitted as attachments to the complaint) confirm

that the Navy "determined that the most likely place to locate the [records] was

NPRC in St. Louis, MO," that the NPRC conducted searches of its records, and did

not locate the records plaintiff alleges exist. (Id. ~~ 4-5.) In fact, the NPRC

"confirmed that it had produced all of [plaintiffs] personnel records in response to

an earlier FOIA request, in 2008." (Id. ~ 6.) The Dursa Declaration also confirms



2 The Court notes that the Navy did not submit a so-called Glomar response, "in which an agency
refuses to confirm or deny the existence of a record requested under FOIA," but attests that the
types of records that plaintiff seeks do not exist, either for him or as a system of records. See-,-,-==
v. NSA, 592 F.3d 60, 69 (2d Cir. 2009).

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that searches for the documents plaintiff alleges exist were conducted by the Naval

Personnel Command, the entity that "maintains the Official Military Personnel File

for UB. Navy service members with accompanying personnel databases," as well as

the Naval Criminal Investigative Service, SECNAV, and MMRB. (Id. ~'I 7-9.) All

four entities found nothing. (Id. ~ 7-10.)

       Additionally, the Navy renewed its prior searches for responsive records after

receiving the complaint; the OJAG "reviewed the entire Navy system of records

notices [SORNs]," spanning "168 systems of records from which personal

information about an individual is retrievable by the name of the individual." (Id.

~'f 11, 15.)   Though one SORN initially "appear[ed] potentially responsive to

plaintiffs request," subsequent searches returned no responsive records. (Id. ~~ 16­

17.) OJAG also "reviewed the Department of Defense's ... SORNs," though it

concluded "the only reasonable places to look for responsive records are the systems

the Navy already searched." (Id. ~~ 19-20).

       In sum, the Navy's exhaustive searches in response to plaintiffs FOIA

request, coupled with its post-complaint review of its prior search process and

additional searches of other sources, more than satisfies the "reasonably calculated

searches" standard to prevail on a motion for summary judgment required in this

and other circuits. See Amnesty InrI USA v. CIA, 728 F. Supp. 2d 479, 498

(S.D.N.Y. 2010) (noting that an agency need not search every file for a requested

document, but must pursue "leads that raise red flags pointing to the probable

existence of responsive agency records") (quoting \:Viesner v. FBI, 668 F. Supp. 2d



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164, 170-71 (D.D.C. 2009). No evidence in the record suggests that either the

Navy's searches were deficient or that the records plaintiff seeks exist (beyond

plaintiffs assertions that they do). As is demonstrated by the unopposed Dursa

Declaration and the lengthy letter the Navy submitted in this action on May 27,

2013 detailing its search efforts, the Navy has more than adequately demonstrated

that the complaint lacks subject matter jurisdiction and that it is entitled to

summary judgment.

                                     CONCLUSION

         For these reasons, defendant's motion to dismiss or, alternatively, for

summary judgment is GRANTED. The Clerk of Court is directed to close the

motion at ECF No. 12 and to terminate this action.

         SO ORDERED.

Dated:         New York, New York
               November 4,2013


                                                15        fij.~ .. ­
                                                  KATHERINE B. FORREST
                                                  United States District Judge


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